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                                                  [Dkt. Nos. 177 and 178]

                   IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY
                             CAMDEN VICINAGE


   THE HOMESOURCE, CORPORATION,

          Plaintiff,
                                         Civil No. 18-11970-ECR-KMW
         v.

   RETAILER WEB SERVICES, LLC et
   al.,

          Defendants.

                                     ORDER

       THIS MATTER having come before the Court upon the Motion

 (“Motion”) [Docket Number 178] by Defendant Retailer Web Services,

 LLC (“RWS”), seeking an Order amending the Court’s May 29, 2020

 Order   [Dkt.    No.   175]   and   sealing   Plaintiff   The   HomeSource

 Corporation’s    (“HomeSource”)     Second    Amended   Complaint   (“SAC”)

 [Dkt. No. 164], which is under temporary seal. The Court has

 considered the papers in support of the Motion pursuant to Federal

 Rule Civil Procedure 78 and Local Civil Rule 78.1, and for the

 reasons to be discussed, the Motion is DENIED with prejudice.

       RWS seeks to seal the SAC. A party’s request to seal documents

 filed on the Court’s Docket requires a formal motion to seal. See

 L. Civ. R. 5.3(c)(1) (“Any request by a party … to file materials

 under seal, or otherwise restrict public access to, any materials

 or judicial proceedings shall ordinarily be made on notice, by a
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 single, consolidated motion on behalf of all parties, unless

 otherwise ordered by the Court on a case-by-case basis”). As the

 Court has repeatedly explained, in great detail, RWS’s motions to

 seal must include:

          a) Motion: The Motion to Seal must be filed as a single,
             consolidated Motion made on behalf of all parties; L.
             Civ. R. 5.3(c)(1);

          b) Brief: No brief is necessary in support or opposition to
             the Motion to Seal unless a party believes it will assist
             the Court; L. Civ. R. 5.3(c)(1);

          c) Affidavit: An affidavit, declaration, certification or
             other document of the type referenced in 28 U.S.C. §
             1746, which shall be based on personal knowledge as
             required by Local Civil Rule 7.2(a); L. Civ. R.
             5.3(c)(3);

          d) Index: An index, substantially in form suggested by
             Appendix U, describing with particularity:

               i. The nature     of   the   materials   or   proceedings   at
                  issue;

              ii. The legitimate private or public interests which
                  warrant the relief sought;

             iii. The clearly defined and serious injury that would
                  result if the relief sought is not granted;

              iv. Why a less restrictive alternative to the relief
                  sought is not available;

               v. Any prior order sealing the same materials in the
                  pending action; and

              vi. The identity of any party or nonparty known to be
                  objecting to the sealing request.

             The index shall also include, as to each objection to
             seal any material:

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             vii. The materials to which there is an objection;

            viii. The basis for the objection; and

              ix. If the material or information was previously
                  sealed by the Court in the pending action, why the
                  materials should not be maintained under seal.

             The Rule does not suggest that an opposing party can
             submit an opposition index.     Thus, if there is an
             objection, the parties should meet and confer to define
             the contents of index numbers (vii), (viii), and (ix).
             See L. Civ. R. 5.3(c)(3)); and

           e) Proposed Order: The Proposed Order shall include a
              Proposed Findings of Fact and Conclusions of Law. The
              Proposed Findings of Fact and Conclusions of Law must
              address all of the aforementioned factors of Local Civil
              Rule 5.3(c)(3). Any party opposing the sealing request
              shall submit an Alternative Proposed Order including the
              opposing party’s Proposed Findings of Fact and
              Conclusions of Law. See L. Civ. R. 5.3(c)(3) and (6).

 The Court therefore finds RWS’s attempt to seal the SAC by amending

 the Court’s May 29, 2020 Order to include the SAC within the

 Confidential Materials is procedurally deficient. Moreover, RWS’s

 Motion, in so far as RWS claims it is a motion to seal, is woefully

 deficient. The Motion       does not      include   any of the documents

 required by Local Civil Rule 5.3(c). The Court rejects RWS’s

 request out of hand.

       It is disconcerting that RWS continues to ignore the Court’s

 rulings. On October 11, 2019, the Court issued an Order [Dkt. No.

 128] denying RWS’s motions to seal. The Order provides a “step-

 by-step    instruction    detail[ing]     the   deadlines,   filings,   and

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 processes the parties must follow in all subsequent attempts to

 restrict public access.” Id. at 10 (emphasis added). On May 29,

 2020,1 the Court issued an Order [Dkt. No. 175] denying RWS’s

 request to seal HomeSource’s proposed SAC [Dkt. No. 138-1]2 and,

 again, instructing RWS in the proper procedure to seal. RWS’s

 failure to acknowledge the Rules and the Court’s prior ruling on

 this exact issue is inexcusable.

       Consequently, IT IS on this the 3rd day of June, 2020, hereby

       ORDERED that RWS’s Motion to Seal the SAC [Dkt. No. 178] is

 DENIED with prejudice. The Clerk of the Court shall unseal the

 Second Amended Complaint located at Docket Number 164; and it is

 further




 1 That same day, RWS emailed the Court requesting an additional
 two weeks to file the Motion as RWS believed it may need additional
 time to revise a motion to seal based on RWS’s review of the
 Court’s May 29, 2020 Order [Dkt. No. 175]. The Court responded,
 instructing RWS to thoroughly review the Court’s Order [Dkt. No.
 175] and the Local Civil Rules before filing any further motions
 to seal. The Court further reminded RWS that future motions to
 seal that fail to comply with the Rules will be denied.
 2 The Court’s May 29, 2020 Order [Dkt. No. 164] instructs that the

 proposed SAC [Dkt. No. 138-1] remain under temporary seal for the
 necessary time period pursuant the Rules. RWS argues that the SAC
 [Dkt. No. 164] “is identical in all respects to the document
 docketed at ECP 138-1,” and should therefore also be maintained
 under seal. However, this is not the standard to seal. RWS was
 required to file a procedurally compliant motion. RWS did not.

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       ORDERED that RWS’s Motion for an Extension of Time to File a

 Motion to Seal the SAC is DENIED as moot.3



                                    s/ Karen M. Williams
                                    KAREN M. WILLIAMS
                                    UNITED STATES MAGISTRATE JUDGE

 cc: Hon. Eduardo C. Robreno, U.S.D.J.




 3 RWS filed its Motion to Seal the SAC [Dkt. No. 178], thus the
 Motion for an extension of time to file a motion to seal the SAC
 [Dkt. No. 177] is moot. HomeSource filed its SAC on April 1, 2020;
 thus, the record reflects that RWS waited until the day the motion
 to seal was due before filing the extension request. The Court
 advises the parties to better manage their time and to file
 requests for extensions of time before the day of the respective
 deadline. Moreover, this Court’s Judicial Preferences states
 “Letters Requesting Extensions of Time and Adjournment Requests
 shall be made in writing by letter only.”
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